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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION
                                 CINCINNATI

   XIAFEN “SHERRY” CHEN                  :    Case No. 1:19-CV-00045
   1438 Meadow Ridge
   Circle Wilmington,                    :    District Judge Timothy S. Black
   Ohio 45177
                                         :
                        Plaintiff,
                                         :    [PROPOSED] FIRST AMENDED
   vs.                                        COMPLAINT AND JURY
   UNITED STATES OF                      :    DEMAND
   AMERICA
                                         :
   DEBORAH LEE
   National Oceanic and Atmospheric      :
   Administration-Great Lakes
   Environmental Research Laboratory     :
   4840 S. State Road
   Ann Arbor, Michigan 48108             :
   In Her Individual Capacity
                                         :
   ANDREW LIEBERMAN
   United States Department of           :
   Commerce 1401 Constitution Ave
   NW Washington, DC 20230               :
   In his Individual Capacity
                                         :
   MIKE BENEDICT
   United States Department of           :
   Commerce 1401 Constitution Ave
   NW Washington, DC 20230               :
   In his Individual Capacity
                                         :
   RENEE DESROSIERS
   United States Department of           :
   Commerce 1401 Constitution Ave
   NW Washington, DC 20230               :
   In her Individual Capacity
                                         :
   “John & Jane Does”
                                         :
                        Defendants.
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                                     INTRODUCTION

    1.      Xiafen “Sherry” Chen is a decorated scientist and is a citizen of the United States. Ms.

  Chen, from 2007 until 2104, she served with distinction with the National Weather

  Service (NWS) as a hydrologist, whose flood forecast model literally saved lives during

  the historic flood of the Ohio and Mississippi Rivers in 2011.

    2.     On a trip to China in 2012, Ms. Chen met very briefly with a former classmate of

  hers in China, Yong Jiao, who was the Vice-Minister for Water Resources in Beijing. Ms.

  Chen only agreed to meet with Mr. Jiao at the insistence of her nephew who had a family

  problem that he believed Mr. Jiao could help address. At the very end of the meeting, Mr.

  Jiao asked Ms. Chen a number of innocuous questions about her work and how the federal

  and local government shared costs to repair aging dams as well at the total water volume in

  the United States.

    3.   Because Ms. Chen could not supply the answers to Mr. Jiao’s questions, which she

  regarded as very basic, she did some very simple online research when she returned to the

  United States. On May 10, 2012 during her lunch hours, she accessed the National Inventory

  of Dams (“NID”) public website, which is a website managed by the United States Army

  Corps of Engineers (“USACE”). The NID Website contains data that is generally available

  to the public, and a limited amount of data that is only available to government employees--

  both federal and state—with a username and password. Prior to 2009 the entire NID

  Website, however, was open to the public without any restrictions. Ms. Chen soon realized

  that the information needed to answer Mr. Jiao’s questions was not available on the public

  area of the NID Website, so she exited website. Later in that afternoon, she thought that the

  restricted portion may have information that she believed could be useful for her river

  modeling work. Ms. Chen did not have a personal username and password for restricted

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  portions of the NID Website. The password was stored in a binder that was available to all

  employees in her immediate office, a pooled password. The password and username were

  maintained by a fellow employee, Ray Davis. When asked by Sherry if he knew why NID

  required a password, Mr. Davis said he did and emailed Ms. Chen the password. He also

  realized that he had enough time before his shift end that day to give Ms. Chen a training of

  NID. During the training, they downloaded a file, “OH,” which was relevant to an ongoing

  project of Ms. Chen was working on. Five days later, Ms. Chen accessed the NID database

  to exercise on her own, she downloaded the same document, “OH,” for a second time. The

  document related entirely to Ms. Chen’s work, and was completely unrelated to the

  information that Mr. Jiao sought.

   4.    Despite the innocuous nature of Ms. Chen’s questions, Deborah Lee reported her to

  the security officer for the USACE. In her email, Ms. Lee falsely accused this “Chinese

  national” of seeking sensitive information that would betray U.S. national security interests

  with the intent of sharing this information with the Chinese government. Ms. Lee also

  erroneously identified Ms. Chen, who is a U.S. citizen, as a Chinese national.

    5.   Ms. Chen also contacted her supervisor, Trent Schade, and Deborah Lee whom she

  believed could help her answer Mr. Jiao’s questions. At no time did Ms. Chen request

  restricted information from anyone and she never provided any restricted information to

  Mr. Jiao. Ms. Chen subsequently sent a number of emails to Mr. Jiao that provided the

  information that she believed he was seeking. The information in the emails was entirely

  public in nature and was not classified, secret or proprietary. In short, at all times, Ms. Chen

  provided only publicly available information to Mr. Jiao.

   6.       One glance at the information that Ms. Chen provided to Mr. Jiao would have

  shown it was not as described by Ms. Lee. Even a cursory investigation would have led to

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  Ms. Chen’s immediate exoneration that she had not done anything wrong and had not

  violated any laws. Ms. Chen never betrayed national security interests or shared secret

  information, nor did she have any intent to share such information. Ms. Chen had been

  honored for her service to the United States and is a proud U.S. citizen.

    7.      In response to Ms. Lee’s false and malicious email, the Department of Commerce

  Office of Security opened an investigation of Ms. Chen. On June 11, 2013, two agents,

  Special Agent Andrew Lieberman and Special Agent Mike Benedict interviewed Ms. Chen

  for approximately seven hours without a lawyer present.

    9.       Agents Lieberman and Benedict ignored exculpatory evidence throughout the

   interview, reached false conclusions without even a cursory investigation of underlying

   facts, and reported false results reflecting their racial and ethnic bias.

    10.     On or about June 3, 2014, Lead Agent Lieberman completed a Report of

  Investigation (“ROI”). The false, misleading and malicious report was communicated to

  the FBI and federal prosecutors and contained the information that was presented directly

  to the grand jury caused the indictment and superseding indictment of Ms. Chen and to her

  arrest by the Federal Bureau of Investigation (“FBI”) in October 2014.

    11.     The FBI failed to conduct a separate investigation or sought to confirm the

  accuracy of the DOC’s claims. Instead, the FBI and the United States Attorney’s Office

  relied on the “evidence” that developed by the DOC Office of Security despite the fact that

  it contained false statements and misrepresentations and omitted material facts that would

  have exculpated Ms. Chen.

    12.      On October 16, 2014, the United States filed a four-count Indictment against Ms.

  Chen (“Indictment”). After Ms. Chen’s defense attorneys filed a motion to dismiss that

  noted fatal defects in the Indictment, and instead of responding, the government filed an

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  eight-count Superseding Indictment on January 15, 2015 (“Superseding Indictment”), in

  an attempt to save the prosecution. All of the counts in the Superseding Indictment were

  based on the false, biased and incomplete report and record created by Special Agents

  Lieberman and Benedict.

    13. The charges were false, malicious, and entirely fabricated. The allegations resulted

  directly from the actions of Defendants Lieberman and Benedict and from other law

  enforcement agents, “Does," who intentionally knowingly, and recklessly made false

  statements and representations and material omissions of facts in their reports, affidavits, and

  other communications with federal prosecutors, thereby initiating and allowing to continue a

  malicious prosecution of Sherry Chen.

    14.     The prosecution of Sherry Chen was directly the result of false and misleading

   statements and material omissions made by Defendants Lieberman, Benedict and Does

   and it collapsed by its own wrongful weight. After meeting with Ms. Chen’s defense

   counsel for one meeting, on March 10, 2015, the U.S. Attorney for the Southern District

   of Ohio, Carter M. Stewart dismissed all of the criminal charges against Ms. Chen,

   without prejudice.

    15.     Indeed, throughout Ms. Chen’s ordeal, beginning with her arrest, the government

  has sought to make an example of her and, without basis in law or fact, to destroy her

  unblemished reputation that had taken years for Ms. Chen to establish.

    16.     Apparently in an attempt to create maximum adverse publicity about Ms. Chen,

   instead of allowing her to voluntarily turn herself in when was arrested, which she would

   have readily done, the government arrested her at work at front of her colleagues.

    17.     The arrest and prosecution produced countless news stories, some of which

   falsely reported that Ms. Chen had been spying for the Chinese.

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    18.     The government made no attempt to take responsibility for creating this false

   narrative, even after it dismissed the charges against her, it did not apologize for

   maliciously prosecuting her.

    19.     Further, despite the dismissal of the charges against her, Ms. Chen was

   terminated from her job as a hydrologist on March 10, 2016. On information and

   belief, Defendant Renee Desrosiers took part in the original decision to fire Ms.

   Chen, relying on essentially the same false charges.

    20.     Ms. Chen challenged the reasons for her termination, and on April 23, 2018 in a

  135-page opinion highly critical of the government, Chief Administrative Judge Michele

  Szary Schroeder agreed with Ms. Chen that she had been a victim of a gross injustice, and

  ordered Ms. Chen’s reinstatement.

    21.     Even this, however, was not sufficient for the same individuals at Commerce,

   “the Does,” who on information and belief took part in the initial firing, the later forced

   leave of absence, and shared the same racist and biased thinking that shaped the Chinese

   American experience in America. This racist and biased thinking that shaped the

   decision-making involving Ms. Chen from the start continued, unmoved by the

   judgment of the court, pleas from civil rights organizations, respected leaders from

   across the community, and exculpatory evidence that exonerated Ms. Chen. On June 18,

   2018, the DOC announced that it would file a petition for review and Ms. Chen would

   be placed on administrative leave because her presence in the workplace would be

   “unduly disruptive.” Defendant Desrosiers was listed as the contact person for the

   decision to place Sherry on administrative leave because her “presence in the workplace

   would be “unduly disruptive.” Ms. Desrosiers treated Sherry differently from non-

   Chinese employees who received favorable MSRB decisions.

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    22.      Because there is not a necessary quorum of board members to hear MSPB

   appeals, there are nearly 2,000 cases pending review and another 1,600 waiting for board

   action. Based on information and belief, Sherry Chen’s case may not be heard until 2021.

                               SUMMARY OF CLAIMS

    23.     This is an action brought under the United States Constitution pursuant to Bivens

  v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971) against

  Defendants Andrew Lieberman and Mike Benedict for malicious prosecution (Count I) and

  fabrication of evidence regarding Sherry Chen in violation of the Fourth and (Count III) for

  violation of the Fifth Amendment’s Equal Protection and Due Process Rights for the unequal

  treatment of Ms. Chen because of her national origin and race.

    24.      Pursuant to Davis v. Passman, 442 U.S. 228 (1979), this is an action brought

   against the Defendant Renee Desrosiers, Deborah Lee, Andrew Lieberman, Mike

   Benedict and “Does” in violation of the Fifth Amendment’s Equal Protection and Due

   Process rights because of their unequal treatment of Ms. Chen because of her national

   origin. (Count II).

    25.     Pursuant to the Federal False Claims Act (“FTCA”), this is an action brought

  against the U.S. government for: (1) malicious prosecution under Ohio law based on

  the unlawful prosecution of Ms. Chen (Count IV), and in the alternative for (2) abuse

  of process.

    26.     For her Amended Complaint under the above statutes, Ms. Chen states as follows:

                             JURISDICTION AND VENUE

    27.     This Court has jurisdiction over the subject matter of this Amended Complaint

  under the Fourth and Fifth Amendments to the United States Constitution and; 28

  U.S.C. §§ 1331, 1346(b)(1) and to issue declaratory and injunctive relief under 28

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   U.S.C. §§ 2201 and 2202, and under its inherent equitable powers.

     28.      Six months have passed since the filing of administrative claims without action.

   Sherry Chen has therefore exhausted all administrative remedies under the FTCA.

     29.      Venue is properly within this District under 28 U.S.C. § 1402(b) as the

   prosecution of Sherry Chen occurred in the Southern District of Ohio and where a

   significant portion of the actions giving rise to this cause of action

     30.      The statute of limitations ran on the last criminal count against Ms. Chen on or

   about June 10, 2018, so as of that date the United States has abandoned the case against

   Ms. Chen and became barred from seeking a new indictment against Ms. Chen. Hence, the

   causes of action alleged herein are ripe, and are not barred by the e two year of the statute

   of limitations.

                                           PARTIES

     31.      Plaintiff Xiafen “Sherry” Chen, currently resides at the address listed in the

   caption.

     32.      Defendant United States of America is the appropriate Defendant under the

   Federal Tort Claims Act.

     33.      Defendant Andrew Lieberman was at all times relevant to this Amended

    Complaint a Special Agent employed U.S. Department of Commerce, Office of

    Security. He is sued in his individual capacity.

     34.      Defendant Michael Benedict was at all times relevant to this Amended Complaint

    a Special Agent employed U.S. Department of Commerce, Office of Security. He is sued

    in his individual capacity.

     35.      At all times relevant to this Amended Complaint, Defendants Lieberman and

    Benedict were acting within the course and scope of their employment with federal

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    investigative and law enforcement agencies.

     36.     At all times relevant to this Amended Complaint, Defendants Lieberman and

    Benedict were acting as investigative or law enforcements agents.

    37.      Defendant Deborah Lee was the Chief of the Water Management Division at the

    Army Corp of Engineers. After an innocent request for information, Ms. Lee reported

    their correspondence to security staff and stated that “an effort is being made to collect a

    comprehensive collection of U.S. Army Corps of Engineers water control manuals on

    behalf of a foreign interest.” She directly caused the espionage investigation of Ms. Chen

    with that e-mail. She also testified before the grand jury, and even after the criminal

    investigation ended, continued to accuse Sherry of stealing secrets. Her conduct as an

    official and under the color of law violated the constitutional rights of Sherry Chen and

    injured her reputation and life.

    38.    Defendant Renee Desrosiers is the Director of Workface Relations Division,

    Workforce Management Office at the United States Department of Commerce. Ms.

    Desrosiers was listed as the contact person for the decision to place Sherry on

    administrative leave because her “presence in the workplace would be unduly disruptive.”

    Upon information and belief, as the Director, she took part in the decision to treat Sherry

    differently from others who received favorable MSRB decisions.

     39.     John and Jane Does are the yet to be identified employees and agents at the FBI,

   Commerce and the U.S. Attorney’s Office who took part in the in the unlawful

   investigation and prosecution of Sherry Chen, including the unlawful searches and seizures

   of Ms. Chen’s private communications, data, and property, and the continuation of a

   persecution of a U.S. citizen and renowned scientist, an investigation that was opened

   based on a false, misleading and racist email, and that has continued unabated despite the

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   continual and continuing discovery of exculpatory facts until today in violation Sherry

   Chen’s life, liberty and property rights protected by the Constitution.

                                           FACTS

                      Sherry Chen was a decorated scientist at the NWS

     40.      Ms. Chen was born in China. After obtaining bachelor’s and master’s degrees

   in hydrologic engineering in China, from a university deemed “the MIT of China,” she

   immigrated to the United States in 1992. In 1997, Ms. Chen became a naturalized U.S.

   citizen.

     41.      She continued her studies in the U.S. and obtained a second master’s degree in

    water resources and climatology from the University of Nebraska.

     42.      After a dozen years working for the State of Missouri as a hydrologist, in 2007

    she was hired by the National Weather Service (NWS) to serve as a hydrologist in its Ohio

    River Forecast Center (ORFC) in Wilmington, Ohio. She was employed with the NWS as

    a Grade 12 Hydrologist until the agency removed her from employment in March 2016.

     43.      The National Oceanic and Atmospheric Administration (NOAA) is dedicated to

    predicting and protecting the environment and is part of the United States Department of

    Commerce. The NWS is part of NOAA. The NWS provides weather, hydrologic and

    climate forecasts and warnings. Within the NWS are a number of River Forecast

    Centers that provide models and forecasts on flooding, water levels, and related

    weather events. Ms. Chen was assigned to the Ohio River Forecast Center (ORFC) in

    Wilmington, Ohio, during her employment with the NWS.

     44.      Ms. Chen was responsible for performing a wide range of assignments of

   considerable difficulty and complexity in hydrology and water resources, with an emphasis

   on developing river forecast models relating to the Ohio River and its tributaries. The river

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   model was referred to as a Hydrologic Engineering Center’s River Analysis System or

   HEC-RAS, which simulates flow on a river with input from its tributaries. Ms. Chen’s

   Ohio HEC-RAS covered the whole Ohio River drainage area, which extends from the

   western edge of Pennsylvania to the Illinois/Indiana border and from Lake Erie to Central

   Tennessee. To develop her HEC-RAS, Ms. Chen would gather information and data about

   the geometry of the river, the overbank, and the land surrounding the river. Ms. Chen

   would then use the information and data to run simulations along with a series of

   calibrations to improve the simulations.

     45.     Ms. Chen was a stellar employee with the NWS. She had a spotless record — no

    disciplinary warnings of any kind — during her years of service. Ms. Chen’s primary

    work was to develop and implement the Ohio River HEC-RAS model, which was the

    largest of its kind in the nation at the time. The goal of the computer model was to

    significantly improve flood prediction along the Ohio River and its tributaries. The

    modeling effort was a critical part of the joint mission of the OHRFC and the U.S Army

    Corps of Engineers. Ms. Chen worked tirelessly as a critical member of the team to the

    point of developing carpal tunnel syndrome in her right finger from repeated mouse

    clicks. She was the hydraulic modeler on the team responsible for setting up the model in

    great detail. Inches matter because it represents the difference between levies being

    breached or not. Levee failure matters because it can mean the difference between loss of

    property and lives. Hence, Sherry was trusted to attend to details and get the details right

    and she did. And everyone she worked with knew this about Ms. Chen. The efforts of Ms.

    Chen’s hard work paid off when she and her team members were chosen for a special

    national award for work that saved lives and property from the Ohio River flooding.

    Further, Ms. Chen was no stranger to such accolades for receiving awards for her

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    previous life-saving work in Mississippi.

     46.     In 2012, Ms. Chen’s performance evaluation stated: “Ms. Chen continues to meet

    and exceed all elements of his performance plans.” (sic) The appraisal added, “Ms. Chen

    contributes “significant proficiency in daily operations.” She demonstrates thorough

    knowledge of the Ohio River Basin and an exceptional knowledge of the Ohio River. She

    knows the forecast process well… Ms. Chen shines in the procedure development here.

    She is the OHRPC leader in dynamic river modeling.”

     47.     In October 2014, in a Recommendation for Recognition, Ms. Chen’s then-

    direct supervisor in lauded her for her “tireless” and “outstanding” work that

    “produced positive results of national significance…”

     48.    Ms. Chen consistently received positive feedback from her supervisors about her

   excellent job performance during her tenure at the NWS, including an outstanding annual

   review received from her supervisor on October 19, 2014. Ms. Chen, who had a spotless

   disciplinary record, was finally being recognized nationally for her pioneering work as a

   hydrologist.

     49.    Every years, Ms. Chen tried to see her aging mother and family. Indeed, the adage

   that “no good deed goes unpunished” is unfortunately all too true for Ms. Chen. During a

   family trip to China in April of 2012, a nephew of Ms. Chen’s asked her to meet with Yong

   Jiao who was the Vice-Minister for Water Resources in Beijing and was a former classmate

   and colleague of Ms. Chen’s. The nephew’s desire for Ms. Chen to meet with Mr. Jiao

   related to a family matter with which the nephew believed Mr. Jiao could assist. Ms. Chen

   originally refused her nephew’s request because she wanted to spend time with her family

   and she had not seen Mr. Jiao in several years, but after repeated requests, she agreed. Mr.

   Chen then met with Mr. Jiao for approximately 15-20 minutes. The vast majority of the

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   meeting concerned the nephew’s issue.

     50.     At the end of the meeting, the two scientists briefly chatted about their respective

    jobs since they were both in the same profession. Mr. Jiao asked if Ms. Chen knew how

    the U.S. federal and local governments shared costs in funding their dams. He also asked if

    she knew the total water volume for the U.S. In Ms. Chen’s view these were simple and

    basic questions. Even though they were only casually asked as “by the way” questions, she

    was embarrassed not to know the answers. She told him she would track down the answers

    when she returned to the U.S.

    51.    Upon returning from China to work on May 10, 2012, Ms. Chen tried to quickly find

    available public information online to answer Mr. Jiao’s questions although this proved

    difficult. On May 10, 2012 during her lunch hours, she accessed the National Inventory of

    Dams (“NID”) public website, which is a website managed by the United States Army

    Corps of Engineers (“USACE”). The NID Website contains data that is generally available

    to the public, and a limited amount of data that is only available to government

    employees--both federal and state—with a username and password. Prior to 2009 the

    entire NID Website, however, was open to the public without any restrictions. Ms. Chen

    soon realized that the information needed to answer Mr. Jiao’s questions was not available

    on the public area of the NID Website, so she exited website. Later in that afternoon, she

    thought that the restricted portion may have information that she believed could be useful

    for her river modeling work. Ms. Chen did not have a personal username and password for

    restricted portions of the NID Website. The password was stored in a binder that was

    available to all employees in her immediate office, a pooled password. The password and

    username were maintained by a fellow employee, Ray Davis. When asked by Sherry if he

    knew why NID required a password, Mr. Davis said he did and told Ms. Chen that the

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    information and the password for NID was in the binder in the operational area. Then, Mr.

    Davis emailed Ms. Chen the password. He also realized that he had enough time before his

    shift end that day to give Ms. Chen a training of NID. During the training, they

    downloaded a file, “OH,” which was relevant to an ongoing project of Ms. Chen was

    working on. Five days later, Ms. Chen accessed the restricted portion of the NID Website

    to practice on her own, she downloaded the same document, “OH,” for a second time. The

    document related entirely to Ms. Chen’s work, and was completely unrelated to the

    information that Mr. Jiao sought.

     52.        On May 11, 2012, Ms. Chen sent an email to her supervisor, Trent Schade and

    made it clear that she was looking for public information.

     53.        During that month she sent to Mr. Jiao four emails only two of which were

    substantive, in which she provided him information she had found online including

    information copied and pasted from the USACE’s public website as Ms. Lee had

    directed.

     54.        All of Ms. Chen’s emails to Mr. Jiao contained only publicly available

    information just as Ms. Lee suggested to Ms. Chen and the main phone line number to Ms.

    Lee’s office for further inquiries.

     55.        On May 24, 2012. Ms. Chen called Deborah Lee, then the Chief of the Water

   Division of the U.S. Army Corps of Engineers (USACE). Ms. Lee was not a stranger to

   Ms. Chen as the two had periodically worked together over the years. Ms. Chen told Ms.

   Lee she had been to China recently on a trip to visit family and while there, a former

   classmate, who worked in the same field as Ms. Chen, asked her a few questions about

   U.S. dams that she could not answer. She shared these questions with Ms. Lee.

     56.        Ms. Lee did not have specific answers, but she referred Ms. Chen to the ASACE

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   website. Ms. Chen thanked Ms. Lee for her help. The telephone call was brief and

   unremarkable.

     57.     However, unbeknownst to Ms. Chen, immediately after the call, Ms. Lee emailed

    the USACE Division of Security and reported Ms. Chen as a potential security risk. In her

    email, Ms. Lee reported their conversation as follows: She “[Ms. Chen] is a citizen but a

    Chinese national.” Of course, this statement is incorrect and demonstrates Ms. Lee’s bias.

    Ms. Chen is a United States citizen. She is not a “Chinese national;” she is a naturalized

    American citizen. Ms. Lee reported that Ms. Chen on a recent trip to China “was approached

    by Chinese colleagues, she was asked to collect information on how US Federal reservoirs

    are authorized, designed, and built.” Ms. Lee was wrong again. Ms. Chen was not

    “approached by Chinese colleagues,” but had met only Mr. Jiao for approximately 15

    minutes at her nephew’s request, and Mr. Jiao did not request the information listed in Ms.

    Lee’s email. Ms. Lee declared that Ms. Chen was inquiring about water control manuals

    which, Ms. Lee claimed, “are not publicly available.” Yet again Ms. Lee is wrong. In fact,

    Ms. Chen had recalled, correctly, that at least some water control manuals are indeed

    publicly available. For example, the state of Missouri, where Ms. Chen had previously

    worked, makes its Water Control Manuals available on-line. In short, Ms. Chen’s nightmare

    that continues to this day, began with a single ill-informed, factually incorrect, misleading

    and racist email by a fellow scientist she viewed as a colleague.

     58.      On information and belief, Ms. Lee made the false and misleading claims in

    her email based on racial and ethnic animus. Ms. Chen made clear to Ms. Lee that she

    was looking for publicly available information. Also Ms. Chen expressly told Ms. Lee

    that she was looking for information for a colleague in China, a fact that presumably an

    alleged spy for the Chinese government would not have disclosed.

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     60.      Upon information and belief, Ms. Lee repeated her false, misleading and racially

    biased statements before the grand jury which indicted Sherry Chen.

     61.      Ms. Lee did not stop making racist comments against Ms. Chen even after the

    government dismissed all of the charges. Ms. Lee wrote a letter on March 12, one day

    after the charges against Ms. Chen were dismissed, to Carter M. Stewart, United States

    Attorney of the Southern District of Ohio in which she complained bitterly about the

    dismissal of the charges and attempted to justify her reporting of Ms. Chen to the DOC’s

    Office of Security. (A copy of the letter is attached hereto as Exhibit)-. In the letter, Ms.

    Lee made numerous false and misleading statements:

     “She stated she was asking for information on behalf of a Chinese colleague
     whom she would not name, although I repeatedly asked. I asked her to refer him
     to me, which despite repeated statements in the press that she did so, she did not.”

     She asked for a breadth and depth of information not required to perform her
     work duties. She specifically requested all of the water control manuals for all
     dams of the United States in electronic form, requested all of the water control
     manuals for all dams, and how to access the National Inventory of Dams (NID).
     She also requested information on the U.S. Army Corps of Engineers planning
     process.”

     “When I refused to provide with non-public information (the water control
     manuals are restricted as well as portions of the NID), she became angry and
     demanding ..... Her change in personality was the final deciding factor.”

   All of the above statements are false or inaccurate. All of the information that Ms. Chen

   sought on behalf of Mr. Jiao was publicly available, and Ms. Chen never had a single

   conversation with Ms. Lee about this matter. Ms. Chen did refer Mr. Jiao to the Army Corp

   of Engineers as Ms. Lee requested. Ms. Chen didn’t refuse to give Jiao’s name as Ms. Lee

   never asked. Ms. Chen didn’t ask Ms. Lee how to access NID as Ms. Chen already knew

   how to access because she had got a training from Mr. Davis on May 10, 2012 and Ms. Chen

   had practiced on her own on May 15, 2012, a week before Ms. Chen called Ms. Lee on May

   24, 2012. Ms. Chen never refused to give Mr. Jiao’s name as Ms. Lee never asked. In fact,

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   Ms. Chen did refer Mr. Jiao to the Army Corps, as Ms. Lee requested and where Ms. Lee

   worked..

     62.   Ms. Lee wrote in filing in an “operations security report that she “also considered the

   risk to myself and my family’s well-being. Because my husband makes frequent business

   trips to China and is employed by a North American enterprise wholly owned by a

   consortium of Chinese investors, I knew I was exposing my family at a minimum to

   economic risk should retaliation result in a loss of his employment.” These are simply

   specious and racist allegations. Even the government has never suggested that Ms. Chen

   somehow represented a threat to the community, and Ms. Lee suggestion that she may have

   herself and her family in physical danger (“I knew I was exposing my family at a minimum

   to economic risk”) could only have been motivated by her ethnic bias.

     63.      Notwithstanding that Ms. Lee’s e-mail was false, misleading, and racist – and

   despite Ms. Chen’s stellar record – Ms. Lee’s May 24, 2012 email directly resulted in the

   Department of Commerce Office of Security opening a full field and counterintelligence

   investigation of Ms. Chen.

     64.      Defendant Andrew Lieberman, who was the lead agent on Ms. Chen’s case was

   also the lead agent in extensive espionage and counterintelligence investigation of another

   Chinese scientist, Chunzai Wang, who was a top expert in Climate Change, at the same

   agency as Ms. Chen. Both Dr. Wang and Ms. Chen ultimately would be prosecuted on

   unrelated and lesser charges than espionage. On information and belief, these espionage

   investigations intentionally targeted Chinese scientists based on their race and ethnicity.

     65.      D. Lee’s racist and biased view of Ms. Chen and her unfounded suspicions of her

    loyalty to the U.S. are not confined to her or is a unique understanding among employees

    at the Department of Commerce. In fact, this view has resulted in Ms. Chen not being

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    permitted to return to work at the National Weather Service. Ms. Chen has been fully

    cleared of all the criminal charges against her, yet the government has not permitted her to

    practice her profession and to assist the government in protecting the Ohio valley region

    from flooding.

     66.      Her placement on administrative leave continues due to the unproven, false and

    racially driven accusation that she is “disruptive.” There is no evidence that Ms. Chen

    has ever been disruptive in the workplace. There is no hearing, no due process, and no

    end to this temporary administrative leave, a de facto firing circumventing the

    administrative court ruling that in accordance with due process, ordered Ms. Chen’s

    return.

   The United States prosecuted other Chinese Scientist based on their race and ethnicity.

     67.      Ms. Chen is one of three espionage-related prosecutions of Chinese American

   scientists in a ten-month period in which government dismissed the charge before trial,

   including: (1) Professor Xiaoxing Xi, then Chair of Temples Physics Department, and (2)

   Guoqing Can and (3) Shuyu Li, senior biologists at Eli Lilly & Company. On information

   and belief, the United States view Chinese-Americans as uniquely suspicious based on

   their race and ethnicity. [Attach as Exhibits articles on these cases] After the public outcry

   over these case, the DOJ conceded there was a problem. On June 27, 2016, then- Deputy

   Attorney General Sally Q. Yates “sent a memo to all law enforcement agents and

   prosecutors informing them of the new Implicit Bias Training Program and its importance

   to a strong and fair criminal justice system.” There was no similar response in Commerce

   to what the Attorney General recognized was a problem of racial targeting Chinese

   scientists. Instead, Ms. Chen was fired and placed on administrative leave because her

   presence would be unduly disruptive.

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   68.       The treatment of Ms. Chen and other Chinese-American scientists continues to

   lead to worldwide outcries. Defendant Lieberman and Benedict lead an investigation into

   Ms. Chen's use of the pooled password kept in a common folder for use by all employees,

   selectively prosecuting only Ms. Chen for the use of the password, not interviewing other

   users of the password, and ignoring exculpatory evidence.

   69.     The National Inventory of Dams Website (NID), which is a Website managed by

   the United States Army Corp of Engineers (“USACE”). The NID Website consisted of both

   public and partially restricted areas. The public section of the NID Website was entirely

   open to public, i.e., anyone with internet access could access this portion. In 2012, the NID

   Website contained a total of 70 fields of data. Of these, 64 fields were available to virtually

   anyone who requested a username and password, regardless of whether the requestor is a

   government employee or has an “official” need for the information. Any schoolchild,

   anywhere in the world, could request –and would be granted – a username and password

   without any background check required. Thousands of passwords have been granted. The

   remaining six fields of data, which were not available to the public, are for the following: i)

   downstream hazard potential; ii) nearest city; iii) distance to nearest city; iv) condition

   assessment; v) condition assessment detail; and vi) condition assessment date. Of these six

   fields, the first three – downstream hazard potential, nearest community and community

   distance – are available on other public websites. The three remaining fields – condition

   assessment, condition assessment detail, and condition assessment date – are not only non-

   sensitive, they are largely non-existent: the NID contained no information whatsoever for

   over 75%of these remaining fields – the data fields are entirely blank. Prior to 2009, the

   NID did not even require login credentials.

     70.     In 2009, the USACE held a webinar for NWS employees to encourage them to

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    use the Website, and instituted a new policy that the NID required password to access

    certain databases.

     71.     In Ms. Chen's office, from 2009, Ray Davis was the keeper of the password for

   the office. Ray Davis was Ms. Chen’s co-worker and a hydrologist. Davis has training in

   geographic information systems, which allowed him to obtain and process map data that

   would be useful to Ms. Chen with the development of her Ohio River HEC-RAS. Mr.

   Davis was also the focal point at the OHRC for emergencies involving dam breaks. Mr.

   Davis had a username and password for the restricted databases within the NID website.

   Mr. Davis maintained the username and password for the NID in a “Dam Break” binder

   in the operations area of the office so it was available to all employees in case of an

   emergency when Mr. Davis (as dam break focal point) was not available. Mr. Davis

   maintained a current NID username and password for employees to access the NID

   starting in 2009 and the practice continued until approximately October 2014.

     72.     Not surprisingly, Mr. Davis shared that password with Ms. Chen. Hence, he was

   first interviewed by Defendants Lieberman and Benedict. Mr. Davis did not remember

   emailing the username and password for the NID database to Ms. Chen. Defendants

   Lieberman and Benedict refreshed his recollection by showing him the email he had sent

   13 months ago. Then, he recalled. Mr. Davis also informed Defendants Lieberman and

   Benedict that he shared the NID password with others in the office; however, despite

   Agent Lieberman’s testimony that “we left no stone unturned” Defendants Lieberman and

   Benedict did not talk to any other of employees Mr. Davis mentioned regarding the

   availability and use of a password, which was actually kept in a common folder in the

   office and shared with others. Unlike Ms. Chen, the government did not seek to prosecute

   Mr. Davis for a false statement under 18 U.S.C. § 1001 for forgetting that he emailed Ms.

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   Chen the information. Defendants Lieberman and Benedict believed Mr. Davis “honestly

   forgot.” The same understanding, of course, was not extended to Ms. Chen. Nor was their

   investigation of who else might have been using the pooled password accessible to all.

   73.     The focus was on Ms. Chen. During this interview, Mr. Davis told Defendant

   Lieberman numerous times that Ms. Chen has work-related reasons — generally and

   specifically — to use the NID database. For example, Mr. Davis said the information would

   be useful and helpful to Ms. Chen. According to Mr. Davis, Ms. Chen had a need to get data

   and using the NID would make it easier. Mr. Davis also discussed “hydro pool capacity”

   information with Defendants Lieberman and Benedict, although Defendant Lieberman did

   not understand what that meant and apparently did not follow-up with Mr. Davis to gain an

   understanding. Mr. Davis also responded negatively when asked if accessing the NID would

   be outside the scope of Ms. Chen’s work as a hydrologist.

     74.     On June 11, 2013, lead agents Andrew Lieberman and Defendant Benedict

   arrived at the Wilmington office- without notice- and behind closed doors, grilled Ms. Chen

   for approximately seven hours. Ms. Chen answered all their questions without the benefit

   of counsel. At the end of the interview, she provided a 5-page handwritten statement, which

   was entirely truthful and accurate. Defendant Lieberman asked the questions while

   Defendant Benedict took hand-written notes. Defendants did not provide Ms. Chen with the

   opportunity to consult her calendar or emails, much less an attorney. The Defendants never

   told her why they were there, what the investigation concerned, or even that she was the

   focus of it. This was a critical omission, because Ms. Chen had no idea or reason to know

   what was important to the investigation – which dates, which emails, which interactions –

   and which were peripheral. Had Ms. Chen known that it was critical to know the date she

   last traveled to China, it would have been a simple matter to look up. Instead, out of a

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   misguided attempt to be helpful, Ms. Chen said that the last time she had visited China was

   the previous year, in May, 2011, when, in actuality, she had last visited China in May,

   2012. That type of nonmaterial error – of forgetting a date, a name, or the precise sequence

   of events – is to be expected in any lengthy interview, particularly when the interviewee has

   no idea what the investigation is about and, therefore, what information is likely to be

   material or crucial.

     75.     The interview was extraordinarily lengthy. Ms. Chen came to work at 7:00 a.m.

   on June 11, 2013. She had not had breakfast that morning. At 11:05 a.m., the Defendants

   Lieberman and Benedict began their interrogation of Ms. Chen. At no time did they offer

   her food, water or an opportunity to take a break. She was not offered an opportunity to use

   a bathroom for more than five and one-half hours. Defendants Lieberman and Benedict

   advised her, in response to her question, that she did not need an attorney. They proceeded

   to question her for more seven hours, until 6:00 p.m., without respite, about events that had

   occurred more than one year prior and about which Ms. Chen had had no reason ever to

   think about or consider since that time. Defendant Benedict prepared a typed Memorandum

   of Interview within one or two weeks of the interview, but it was not signed by Defendant

   Benedict until November 6, 2013. It is not clear when Defendant Lieberman actually

   reviewed the notes. During the marathon interview, Ms. Chen patiently explained the

   background of her May 24, 2012 telephone call to Ms. Lee and her trip to China that had

   preceded it. She explained she had traveled to Beijing China to visit her elderly parents of

   her brief meeting with a former classmate who held a position with the Chinese

   government in the area of water resources. She explained this meeting was a favor to Ms.

   Chen’s nephew whose father in law had a longstanding dispute with the local water bureau

   over a water pipeline project.

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     76.    She also described how upon her return to the U.S. she had tried to find public

   information online to answer Mr. Jiao’s questions, but was unable to do so. She also told

   Defendants Lieberman and Benedict that on May 11, 2012, she sent an email to her

   supervisor, Trent Schade, and subsequently called Ms. Lee on May 24, 2012. At all times

   she made clear she was looking for public information.

     77.     She further told Defendants Lieberman and Benedict that she had sent Mr. Jiao

   emails, only two of which were substantive, in which she provided him information she

   had found online, including information copied-and-pasted from the USACE’s public

   website as Ms. Lee had directed. At the end of the June 11, 2013 interview, Ms. Chen

   provided to Defendants Lieberman and Benedict copies of every one of these emails.

     78.    Thus, as of June 11, 2013, the Defendants knew that Ms. Chen had sought and

   provided to Mr. Jiao only publicly available information. She had done exactly what Ms.

   Lee asked her to do and to refer Ms. Jiao to the Army Corps of Engineers.

     79.    In other words, it was clear to the Office of Security agents that Ms. Chen had not

   shared any secret or otherwise confidential information with Ms. Jiao or for that matter,

   anyone outside of the agency.

     80.    Nonetheless, on or about October 16, 2014, Ms. Chen was indicted for multiple

   violations of federal law including “unauthorized access” of a government data base and

   steal[ing] computerized fields of data.

   Defendants Lieberman and Benedict draft a maliciously false ROI causing Ms. Chen’s
                      Indictment and arrest.

     81.    Defendants Lieberman and Benedict were particularly ill-equipped to interview

   Ms. Chen. Defendant Lieberman had no experience as a hydrologist. He did not have any

   expertise regarding data in relation to water movement or locks and dams. In fact, going

   into the interview, Defendant Lieberman did not even know that Ms. Chen’s position
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   required her to acquire information about locks and dams. Prior to the interview, the

   Defendants Lieberman and Benedict did not make any inquiries about the type of

   information Ms. Chen was asking for on behalf of Mr. Jiao, e.g., whether it was public

   information. In fact, Defendants Lieberman and Benedict confirmed shortly after Ms.

   Chen’s interview that the information Ms. Chen was seeking for Mr. Jiao was public

   information and they found no evidence that Ms. Chen had ever provided secret,

   classified, or proprietary information to a Chinese official or anyone outside of the agency.

     82.    Defendants Lieberman and Benedict believed, based in large part on Ms. Lee’s

   email, that Ms. Chen was providing restricted information to Chinese nationals. They

   were sent to investigate counter-intelligence.

     83.    Upon information and belief, Defendants Lieberman and Benedict had never

   conducted such investigation and had never received training as to how to do so,

   including as how to conduct an interview of witnesses in such an investigation.

   Accordingly, Defendants Lieberman and Benedict were not competent to be involved

   in such an investigation.

     84.    But even a cursory review of Ms. Chen’s e-mails would have shown that she was

   not providing secret information to anyone. A walk around the office would have shown

   the password folder. An examination of the downloaded files would have shown Ms.

   Chen's innocence. On the basis of their evidence, the investigation should have ended

   immediately after the June 11, 2013 interview with Mr. Davis and Ms. Chen. But

   Lieberman and Benedict forged ahead.

     85.    On or about June 3, 2014, Lead Agent Lieberman completed the ROI. The

   Defendants Lieberman and Benedict in an objectively unreasonable fashion (2) stated a

   deliberate falsehood or showed reckless disregard of the truth and (2) that the allegedly

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   false or omitted information was material in the finding of probable cause.

     86.     Agent Lieberman knew the ROI would be shared with the United States Federal

   Bureau of Investigation (FBI) and with federal prosecutors.

     87.     Agent Lieberman recklessly made or caused to be made false statements and

   representations and material omission of facts in the ROI, and in other communications

   with federal prosecutors, and the FBI, thereby initiating a malicious prosecution of

   Sherry Chen, as evidenced by false allegations made in the Indictment and Superseding

   Indictment.

     88.     The false statements and material omissions regarding Ms. Chen’s conduct in

    2012 included but were not limited to the accusation that Ms. Chen improperly

    accessing the USACE’s National Inventory of Dams (NID) database and downloading

    files from it for the purpose of sharing secret information about U.S. dams with the

    Chinese government. This allegation was completely false:

     89.     Defendants Lieberman and Benedict knew or should have known from their

   interview that Ms. Chen had, in fact, properly accessed the NID database in May 2012

   for job- related reasons; Defendants Lieberman and Benedict specifically knew that Ms.

   Chen had accessed the NID database on May 10, 2012, with the assistance of her co-

   worker, Ray Davis.

     90.     Defendants Lieberman and Benedict knew or should have known Ms. Chen had

   not improperly used acquired information belonging to the federal government and had not

   made any material misstatements when they interviewed her on June 11, 2013.

     91.     The Defendants chose not to investigate or reveal this key evidence that would

   have exculpated Ms. Chen.

     92.     The Defendants did not disclose that the e-mails that Ms. Chen shared with

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   Defendants Lieberman and Bennett would have established she did exactly as requested

   of her by Ms. Lee and referred the public files and offered a main phone line number to

   the Army Corp of Engineers for further inquiries as Lee suggested.

     93.     Defendant Lieberman falsely alleged the key file, “OH ,” downloaded twice

    (May 10, 2012 and May 15, 2012) from the NID without permission.

     94.     Defendant Lieberman and Benedict failed to pose clear questions to Ms. Chen

    and to follow-up on Ms. Chen’s responses to determine if and when Ms. Chen was looking

    at the public portion of the NID versus the password-protected portion. Defendant

    Lieberman and Benedict falsely alleged Ms. Chen had accessed the NID database

    inappropriately with someone else’s password at the noon access by Ms. Chen did not

    involve the use of credentials and the information was public record. The other access to

    the files was with permission and Mr. Davis in an effort to train Ms. Chen.

     95.     All of the evidence uncovered by Defendants Lieberman and Benedict established

   that Ms. Chen could use the password e-mailed to her by Mr. Davis and access the files for

   the state of Ohio where she built models to prevent flooding. Ms. Chen was authorized to

   download the files that she did and there is no evidence that Ms. Chen used the access to

   convey secret information or to even answer the questions Mr. Jiao asked. To the contrary,

   Ms. Chen’s own e-mails directed Mr. Jiao to the Army Corp of Engineers, to public records

   and to the main phone line of the Army Corp of Engineers as Ms. Lee suggested.

   96.     Hence, the Defendants Lieberman and Benedict and the United States knew or

   should have known there was no evidence that Ms. Chen had entered into a restricted the

   NID database without authorization. They knew or should have known that the

   downloaded files did not have sensitive information. They knew or should have known

   Ms. Chen’s few e-mails to an old Chinese schoolmate in the same scientific field showed

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   the innocent nature of the correspondence, since Ms. Chen only provided public

   information, and that Ms. Chen had been transparent in her requests for information from

   her co-workers. What the Defendants presented to the F.B.I, which was then in turn

   presented to the grand jury, as proof of downloaded secrets of America’s dams was

   actually a file that was not downloaded surreptitiously but was downloaded with the

   knowledge and consent of Mr. Davis. In order to overcome his exculpatory evidence,

   Defendants Lieberman and Benedict fabricated evidence.

   97.        The actions of Defendants Lieberman and Benedict in intentionally, knowingly

   and/or recklessly providing false information to federal prosecutors and in

   misrepresenting evidence of a clearly exculpatory nature, were done with the intent and

   purpose of initiating a malicious prosecution of Sherry Chen, and these communications

   led directly to the false indictment and prosecution.

         On information and belief, Defendants Lieberman also selectively investigated and
         prosecuted another acclaimed Chinese scientist at NOOA forcing his resignation,
                                         Chunzai Wang.

     98.      In addition, Ms. Chen is not the only Chinese-American to have been targeted by

   the DOC and Agent Andrew Lieberman based on their ethnicity: Chunzai Wang is one of

   the world’s foremost experts on climate change and hurricanes. A naturalized U.S. citizen,

   he was a successful climate scientist at NOAA Atlantic Oceanographic and

   Meteorological Laboratory, and was named the NOAA Employee of the Year in 2012.

     99.      In 2016, Defendant Andrew Lieberman executed a search warrant at Dr. Wang’s

   home and office, and, just like in Ms. Chen’s case, interrogated Dr. Wang for an entire

   day, without counsel and without a food or water break. As a result of the search warrant,

   the interrogation, and the negative publicity, Dr. Wang felt compelled to resign from

   NOAA, a position that he loved and where he worked tirelessly for 17 years. With no
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   other work alternative available at the time, Dr. Wang left his family in Miami and found

   work at the Chinese Academy of Sciences in China doing similar research regarding

   climate change.

     100.      In September of 2017, when Mr. Wang returned to the U.S. to visit his family, the

   government arrested Dr. Wang at the airport. The government alleged that Dr. Wang

   committed time and attendance fraud when he spoke at scientific conferences in China

   without first notifying his supervisor, and that he illegally supplemented his income—Dr.

   Wang was a Guest Professor at the Ocean University of China and, while he was on annual

   leave, was paid a small fee per diem for mentoring students and helping them with their

   research.

     101.      On the brink of trial, the government offered Dr. Wang a deal: a plea to a single

   count of supplementation of income from Changjiang Scholars Program, with a sentence of

   “time served” (he spent one night in custody when he was arrested); no probation, no fine,

   no restitution; and, most significantly, no crushingly expensive three-week long trial which

   he could only have afforded by borrowing from his elderly parents and other family in

   China. The plea meant that Dr. Wang could protect his family from the debilitating stress

   and immediately return to China and resume his research.

     102.      The presiding judge, Cecilia Altonaga, made clear her displeasure with this

   prosecution. After hearing the facts of the government’s case, the judge stated that her

   “only regret . . . is that I have to adjudicate [Dr.] Wang.” The judge went on to observe that

   while she knew “the Government has dismissed a number of counts in the indictment in

   exchange for the plea to Count 6, [ ] given the nature of [Dr.] Wang’s contributions to an

   area that is at the forefront of our daily review of news, climate change, given the nature of

   the research he conducts and – and the information he supplies and how valuable it is to all

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   of us, certainly he made mistakes here, but it’s regrettable that it could not have been taken

   care of, I think, by some type of pretrial diversion so that he would not be an adjudicated a

   felon.”

     103.    Despite the court’s admonishment the case against Dr. Wang should never have

   been brought in the first place; the government – after previously representing that it

   would not issue any press release regarding Dr. Wang’s disposition – nevertheless issued a

   false and misleading press release “touting” their conviction of Dr. Wang. This press

   release violated DOJ policy by referencing unproven allegations that the Court dismissed

   as if they were established facts.

     104.    Had the government wanted to inform the public of the unproven allegations

   contained in the Indictment, it was required to state that the charges were merely

   accusations, and that Dr. Wang was, and remains, presumed innocent of those dismissed

   charges. Once again, Mr. Lieberman led the investigation.

                                   The DOJ investigates Ms. Chen

     105.    At some point after Defendants Lieberman and Benedict interview of Ms. Chen,

   the Department of Commerce referred the matter to the Department of Justice for

   possible criminal investigation and prosecution.

   106.      On June 6, 2014, an FBI Special Agent filed an application for a search

   warrant with the United States District Court for the Southern District of Ohio that was

   signed by Magistrate Judge Sharon L. Ovington on June 12, 2014. The search warrant,

   pursuant to 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A), sought to require

   Yahoo to provide information relating to Ms. Chen’s Yahoo account including her

   emails. The Special Agent signed the affidavit in support of the application, and he

   asserted that he had been involved in investigations relating to criminal violation of

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   computer and computer-based crimes and had received extensive training in this area as

   well.

     107.       The application included false, misleading and unsupported claims, which can

    directly traced back to Ms. Lee’s email and to the false and misleading statements in the

    ROI which were not independently verified by special agent Proudfoot or apparently

    any other FBI Special Agent. These false and misleading statements and unsupported

    claims include:

           ¶ 5: An “USACE employee,” apparently “became concerned because 1) the
           request [to her by Ms. Chen] was clearly outside the scope of CHEN’s offi-
           cial duties, and 2) CHEN made the request in response to a prior request
           purportedly made by “Chinese colleagues.” This is based on Ms. Lee’s fac-
           tually incorrect, misleading and racially biased email.

           ¶ 7: “On approximately May 10, 2012, the coworker sent an email to CHEN
           containing his NID credentials and password via official NOAA email.
           CHEN never had any authorization from USACE or her NOAA supervisor
           to access the NID.” This statement is false and particularly misleading since
           Mr. Davis provided Ms. Chen with the username and password to the NID
           based on his understanding her that Ms. Chen had work-related reasons —
           generally and specifically — to use the NID database, and was authorized to
           do so. See ¶ 53.

           ¶ 12: “Forensic analysis has revealed that on approximately May 10, 2012
           at 237 p.m., CHEN’s official NOAA computer and login credential were
           used to download the file “OH.mdb” from the website
           http://geo.usace.army.mil. On May 15, 2012 at approximately 7:41 a.m.,
           CHEN’s official NOAA computer and login credentials were used to down-
           load the file “OH.mdb” from the website http://geo.usace.army.mil. These
           files were stored on the NID restricted and sensitive database.” This state-
           ment is again false by omission. It does not provide that the two files Agent
           Proudfoot identified in this paragraph were identical and legitimately re-
           lated to Ms. Chen’s work.

           ¶ 13: “USACE records revealed that CHEN was never an authorized NID
           user and did not have an active NID account. CHEN never obtained proper
           authorization from her NOAA supervisor to access the NID.” Mr. Davis
           provided Ms. Chen with the username and password for the NID database.
           See ¶ 53.

           ¶ 14: “On May 15, 2012 at approximately 8:00 p.m., CHEN used her per-
           sonal email account ‘XIAFENMAIL@YAHOO.COM’ to thereafter send an
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        email to JIAO which included an overview of the information contained in
        the NID. In said email, CHEN states that the “database is only for govern-
        ment users and non- government users are not able to directly download any
        data from this site.” This statement is particularly misleading because it
        suggests Ms. Chen had provided restricted information to Mr. Jiao whereas,
        in fact, Ms. Chen had simply informed Mr. Jiao of the type of information
        contained in the NID database and provided him with public sources of in-
        formation “that might to you [sic.]”

        ¶15. “On May 29, 2012 at approximately 8:44 a.m., CHEN sent an email
        from her account ‘XIAFENMAIL@YAHOO.COM’ to JIAO indicating that
        she had spoken to the chief of the USACE Water Management Division.
        CHEN provided a summary of information to JIAO regarding the dams that
        USACE maintains; hydropower capacity; dam requirements; a link to
        USACE’s mission page; and information on the future revision of policy
        and procedures for building new infrastructure.” This statement is also par-
        ticularly misleading. It suggests, especially in the context of other state-
        ments in the affidavit, that Ms. Chen had provided Mr. Jiao with sensitive
        information from the NID database whereas, all of the information that Ms.
        Chen had provided to Mr. Jiao was information from public sources and did
        not include any information from the NID.

     108.     In short, the affidavit does not establish probable cause, and had the Special

    Agent provided Magistrate Judge Sharon L. Ovington with a complete, accurate and

    truthful statement, she would not have signed the application for the search warrant.

     109.     Moreover, from the Special Agent’s affidavit statement, it is clear that he relied

    totally or nearly completely on the incomplete, biased, false, investigation conducted by

    Defendants Lieberman and Benedict and the fabrication of a story of espionage out of an

    innocent and open set of inquiries and with complete transparency as she made her

    inquiries and worked alongside the colleague who gave her the password. Had the Special

    Agent conducted an independent investigation, he would have discovered that Ms. Chen:

    (1) did not “knowingly, intentionally and without proper authority ... steal, purloin and

    convert to her use or the use of another, certain sensitive, restricted and proprietary

    computerized fields of data involving critical national infrastructure contained in the

    National Inventory of Dams database” (2) did not “intentionally exceed[] authorized

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    access to a protected United States Government computer database,” and (3) did not make

    any material false representation during her interview by Defendants Lieberman and

    Benedict. In short, had the Special Agent conducted a proper investigation he would have

    discovered that there was no probable cause for the government to seek the indictment of

    Ms. Chen.

   110.   Upon information and belief, the F.B.I. never conducted an investigation into

   whether the record and ROI created by Defendants Lieberman and Benedict was complete,

   truthful and unbiased or thorough or whether it contained false and misleading statements,

   and intentionally or recklessly omitted material facts that would show that Ms. Chen had

   not violated federal criminal law. Had such an investigation been conducted as it should

   have been, the United States would have determined, if they did not already know, that the

   record created by Defendants Lieberman and Benedict was misleading, inaccurate, false,

   and biased, in short a fabrication of evidence. Had the FBI conducted a proper investigation

   the United States Attorney’s Office for the Southern District of Ohio would have

   determined, if it did not already know, that there was no probable cause it to seek the

   indictment of Ms. Chen.

   111.     The DOJ opened the investigation of Ms. Chen because it believed—wrongly, as

   it turned out—that Ms. Chen was providing restricted information to Chinese nationals. As

   a result of these suspicions, the FBI obtained a search warrant to seize all of Ms. Chen’s

   personal emails for the past seven years; searched Ms. Chen’s work computer; searched

   Ms. Chen and her husband when they departed to China to visit Ms. Chen’s elderly

   parents; reviewed years of Ms. Chen’s bank and financial records; and subjected Ms. Chen

   to a seven-hour-long interrogation, without the benefit of counsel and no advance warning

   about events that occurred more than one year prior. All of these efforts did not turn up a

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   scintilla of evidence that Ms. Chen ever provided any restricted information to anyone, let

   alone a Chinese national.

                                The Grand Jury indicts Ms. Chen

   112.     On October 16, 2014, a grand jury returned an indictment against Ms. Chen alleging

   violations of 18 U.S.C. §§ 641, 1001, and 1030(a)(2). The four counts related to Ms. Chen’s

   accessing the NID database and to allegedly making false statements during her interview by

   Defendants Lieberman and Benedict, despite not charging Ray Davis for making similar

   “false” statements.. The allegations of criminal wrongdoing in the Indictment was flatly false

   and constituted malicious prosecution.

     113.     The FBI arrested Ms. Chen at her office on October 20, 2014. As a condition of

   her release she “forfeited” her passport to the Court.

     114.     On December 29, 2014, Ms. Chen filed a motion to dismiss Count 1 (18 U.S.C. §

   641) and Count 2 (18 U.S.C. 1030(a)(2) on the grounds that those counts failed to identify

   what “restricted and proprietary computerized fields of data” that Ms. Chen allegedly

   accessed and stole from the NID database. The motion also sought to dismiss the two false

   statement counts (18 U.S.C. 1001) on the ground that the government had failed to allege

   the statements to the government were material as required by that statute.

     115.     Instead of responding to Ms. Chen’s motion to dismiss, on January 15, 2015, the

   government filed an eight-count Superseding Indictment against Ms. Chen also alleging

   violations of 18 U.S.C. §§ 641, 1001, and 1030(a)(2). (A copy of the Superseding

   Indictment is attached herewith as Exhibit C). The allegations of criminal wrongdoing in

   the Superseding Indictment were flatly false.

     116.     The counts generally alleged as follows:

              Count 1 [18 U.S.C. § 641] - Ms. Chen did, between on or about May 10, 2012

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           and May 24, 2012, “knowingly, intentionally and without proper authority did
           steal, purloin and convert to her use or the use of another, certain sensitive, re-
           stricted and proprietary computerized fields of data involving critical national in-
           frastructure contained in” the NID;
           Count 2 [18 U.S.C. § 1030(a)(2)] – On or about May 10, 2012, Ms. Chen
           “inten- tionally exceeded authorized access to” the NID computer database, “and
           thereby obtained information from a department and agency of the United
           States, to wit: sensitive, restricted., and proprietary fields of data concerning
           critical national dam infrastructures, ...,”;
           Count 3 [18 U.S.C. § 1030(a)(2) – On or about May 15, 2012, Ms. Chen “inten-
           tionally exceeded authorized access to” the NID database, “and thereby obtained
           information from a department and agency of the United States, to wit: sensitive,
           restricted, and proprietary fields of data concerning critical national dam infra-
           structures, .... ”;

           Count 4 [18 U.S.C. § 1001(a)(2)] – On or about June l1 2013, Ms. CHEN, “did
           knowingly and willfully make a material false representation, to wit.: that. She
           never, without proper authority, logged onto the restricted area of the” NID data-
           base “order to access sensitive, restricted and proprietary fields of data concerning
           critical national dam infrastructures. This statement was false because” Ms. Chen
           “knew she had previously logged onto said restricted database without proper au-
           thority on various prior dates .... ”

           Count 5 [18 U.S.C. § 1001(a)(2)] – On or about June 11, 2013, Ms. Chen “did
           knowingly and willfully make a materially false representation, to wit: that she
           never, without proper authority, downloaded sensitive, restricted and proprietary
           fields of data concerning critical national dam infrastructures from the restricted
           area of the” NID database. “This statement was false because” Ms. Chen “knew
           she had previously downloaded data from said restricted database without proper
           authority on .... ”

           Count 6 [18 U.S.C. § 1001(a)(2)] – On or about June 11,2013, Ms. Chen “did
           knowingly and willfully make a materially false representation, to wit: that she
           never obtained a co-worker’s (identified to the Grand Jury as “R.D.”) personal
           password assigned to access sensitive, restricted and proprietary fields of data
           concerning critical national dam infrastructures contained in a restricted area of
           the” NID database. “This statement was false because, ... [Ms. Chen] .... knew she

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               had without proper authority on or about May 10, 2012 received an email from
               “R.D.” which contained his personal username and password to access said re-
               stricted database.”

               Count 7 [18 U.S.C. § 1001(a)(2)] – On or about June 11, 2013, Ms. Chen did
               knowingly and willfully make a materially false representation, to wit: that she
               never used a co-worker’s (identified to the Grand Jury as “R.D.”) personal pass-
               word to access sensitive, restricted and proprietary fields of data concerning criti-
               cal national dam infrastructures contained in a restricted area of the” NID. This
               statement was false because the [Ms. Chen] ... she had on or about May 10, 2012
               and on or about May I 5, 2012 without proper authority used “R.D.’s” personal
               username and password to access said restricted database.”

               Count 8 [18 U.S.C. § 1001(a)(2)] – On or about June 11, 2013, Ms. Chen “did
               knowingly and willfully make a materially false representation, to wit: the last oc-
               casion she was approached by an individual identified to the Grand Jury as “J.Y.,”
               the purported Vice Minister of the People’s Republic of China Water Institute was
               in 2011. This statement was false because the [Ms. Chen] ... knew she had person-
               ally met and held discussions with “J.Y,” in his official government office in Bei-
               jing, China during a visit to that country occurring between on or about April 14
               and May 8, 2012.”

     117.      All of the Counts in the Superseding Indictment were based on the false, biased,

   misleading and incomplete ROI and record created by Defendants Lieberman and Benedict

   and by the failure of the FBI to conduct an independent investigation and to determine the

   accuracy and veracity of the ROI and record created by Defendants Lieberman and

   Benedict.

     118.      On January 22, 2015, Ms. Chen filed a motion to dismiss Counts 1, 2, and 3 of the

   superseding indictment on the grounds that those counts still failed “to identify in any

   fashion whatsoever what ‘sensitive, restricted and proprietary computer fields of data’ Ms.

   Chen allegedly accessed and stole from the NID database.”

     119.      Only after the government had filed the Superseding Indictment, did attorneys for

   the United States Attorney’s Office for the Southern District of Ohio and the FBI t
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   discover that Defendants Lieberman and Benedict had had hidden from Ms. Chen, and

   failed to produce to her, as required, critical information that would have established once

   and for all that Ms. Chen had indisputably not committed a single of the crimes alleged in

   the Superseding Indictment. In particular, during a visit to Ms. Chen’s place of work, the

   AUSAs and the FBI Special Agent discovered that Defendants Lieberman and Benedict

   had failed to produce to them, among other things: (1) a copy of the MOI with Ray Davis

   that established that Mr. Davis told Defendant Lieberman numerous times that Ms. Chen

   has work-related reasons to use the NID database, that he had provided the username and

   password for the NID database to Ms. Chen, and that that username and password were

   kept in a binder that was accessible to all employees of the ORFC but Defendant

   Lieberman never looked at it; and (2) a copy of the binder itself. There is no question that

   the government was required to have produced this information to Ms. Chen as part of its

   discovery obligations under federal law.

     120.     After counsel for Ms. Chen learned of the improperly withheld evidence that

   would have exonerated Ms. Chen, the government did not file an opposition to the

   motion to defense, but instead nearly five months after her arrest and only one week

   before her trial was scheduled to begin, the U.S. Attorney for the Southern District of

   Ohio announced, on or about March 10, 2015, that the government was voluntarily

   dismissing all of the charges against her. The U.S. Attorney offered no explanation or

   apology.

     121.     Because the United States dismissed the Superseding Indictment without

   prejudice, the government retained the right to refile the counts against Ms. Chen pursuant

   to the limitations set forth in the statute of limitations. Pursuant to 18 U.S.C. § 3282 “no

   person shall be prosecuted, tried, or punished for any offense ... unless the indictment is

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   found ... within five years next after such offense shall have been committed.” The date of

   the last offense allegedly committed by Sherry Chen are the five counts under 18 U.S.C. §

   1001 for making false statements in connection with her interview by Special Agents of the

   Office of Investigations of the Department of Justice that took place on June 11, 2013. This

   means that the U.S. had until on or about June 10, 2018, to again charge Ms. Chen. In other

   words, the dismissal of all the counts against Ms. Chen was not “final” until that date.

     122.   On March 16, 2015, the Court granted the Clerk’s request to return Ms. Chen’s

   passport that had been “forfeited to this Court.”

       The United States willfully and maliciously destroyed Sherry Chen’s professional and
                                            personal life

     123.   On October 20, 2014, four days after Ms. Chen was indicted, Ms. Chen reported

   to work, thinking it was like any other day. Upon entering the building shortly before

   noon, she noticed that a number of employees were loitering and quietly chatting in the

   hallways, which seemed unusual. Shortly after greeting her co-workers, Ms. Chen was

   approached by her supervisor, Mr. Schade, who asked her to come to his office. She went

   with him, thinking he might have some paperwork for her to sign in connection with the

   annual performance review she received the day before. That, however, was not his

   purpose. Once they entered his office, Mr. Schade told her, “Someone wants to talk to

   you.”

     124.   At that moment, six FBI agents burst into his office from an adjacent conference

   room. One of the agents showed her an arrest warrant, as a second agent slapped

   handcuffs on her wrists. A third agent, whom Ms. Chen would later learn was the FBI

   regional supervisor, searched Ms. Chen’s pockets. The remaining agents were spread out

   throughout the room.


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       125.    One of the agents read the Indictment to her, and then he recited the Miranda

     warnings. In a state of shock, she asked them to read the Indictment again.

     Understandably, she could not process what was happening.

       126.    With her hands handcuffed behind her back, the agents walked Ms. Chen out of

     Mr. Schade’s office, past her co-workers, and into the parking lot.

       127.    The agents then placed her in the backseat of an FBI vehicle. Once in the car, Ms.

     Chen could see her co-workers watching this scene through the office windows.

     She was overwhelmed with feelings of shame.

       128.    When they arrived at the courthouse, one of the agents showed his badge to the

     gatekeeper. Asked about his purpose, the agent told him they were dropping off a

     “prisoner.” Ms. Chen could not believe what she heard.

       129.    The reality of what was happening to Ms. Chen sunk in as she entered the

     courthouse and, one by one, heavy metal doors shut behind her. After being held briefly in

     a solitary cell, she then was subjected to various indignities: she was fingerprinted, her

     mouth was swabbed for a DNA sample, and a security bracelet was affixed to her ankle.

       130.    Led to the courtroom in handcuffs, Ms. Chen appeared in court where the

     prosecutor read aloud the Indictment and announced that the maximum penalty was 25

     years in prison and $1 million in fines. She was terrified.

       131.    Yet more reporters came to her house and the knocking on her door continued.

She did not open the door again and closed the curtains.

       132.    Watching the television news that evening, she saw multiple stories about her

     arrest, which included interviews of her neighbors who expressed their shock.

       133.    The ensuing media coverage of her arrest and prosecution produced countless

     news stories, including an article in the Cincinnati Enquirer, published on or about

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   January 9, 2015, titled, “Wilmington scientist accused of spying for Chinese.

     134.    Her reputation in tatters, she anxiously awaited trial as she and her family

   incurred substantial attorney fees.

     135.    In the meantime, she was without a salary, as the NWS had suspended her,

   effective November 24, 2014.

     136.    Members of Congress protested the injustice.

     138.    Sherry Chen’s counsel was quoted in the New York Times as saying, “How is

   this not a clear case of racial discrimination?”

     139.    A defense committee was formed and leaders from across the country decried the

   prosecution of Sherry Chen including law school professors and civil rights leaders. The

   U.S. Civil Rights Commission protested.

     140.    Sherry Chen’s attorney made it clear to the U.S. Government and the agency that

    he believed the persecution of Ms. Chen was motivated by racial profiling in a letter to the

    prosecution describing Ms. Lee’s May 24, 2012, email to Joanne Rutledge and noting its

    errors and false statements.

     141.    The U.S. Attorney offered no explanation or apology after it dismissed without

   prejudice all of the charges against her.

     142.    One day after Ms. Chen’s case was dropped, on or about March 12, 2015, Ms.

   Lee protested to the prosecutors and leveled an entirely new accusation: “[W]hile Ms.

   Chen cannot be directly linked to the theft of the NID files, clear evidence exists that is

   was stolen in its entirety following her visit to China and obtaining worker’s access to

   NID.”

     143.    On March 10, 2016 Ms. Chen received from Defendant Vice Admiral Michael S.

   Devany, Deputy Under Secretary for Operations, a decision to remove her from the

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   position of Hydrologist, GS1315-12, and from Federal service based on her: (1) Conduct

   Demonstrating Untrustworthiness; (2) Misrepresentation; (3) Misuse of a Federal

   Government Database; and (4) Lack of Candor with an effective date of this action was

   March 11, 2015, essentially the same actions dismissed two days.

     144.    Ordinarily if there are performance or conduct issues with a federal employee,

   there is normally a progression of counseling, warning, performance improvement

   program, and other intermediate disciplinary actions. There was not even a hint of a

   problem before this notice.

     145.    The effort to keep Sherry Chen from returning to work led to a flurry of press

   coverage. On May 9, 2015, the New York Times published “Accused of Spying Until She

   Wasn’t.” On May 12, 2015, the Washington Post profiled Sherry Chen’s story, “Falsely

   accused of Spying. Weather Service employee’s turned upside down.” On May 25, 2015,

   NBC News aired “Was Race a Factor in Sherry Chen’s Espionage Case?”

     146.    On May 21, 2015, twenty-two members of Congress wrote to Attorney General

   Loretta Lynch and demanded an investigation "to determine whether race was used as a

   factor in [Ms. Chen's] arrest.

     147.    The public outcry continued. On September 15, 2015, The New York Times

   published "Chinese-American Cleared of Spying Charges Now Faces Firing. On

   November 12, 2015, there was an editorial in the Washington Post by Sherry Chen’s

   criminal attorney Peter Zeidenberg, "Chinese Americans Are Being Caught Mistakenly in

   the U.S.'s Cybercrime Dragnet.”

     148.    Ms. Chen challenged her termination through an appeal to the U.S. Merit Systems

   Protection Board (MSPB).

     149.    Only now the government has admitted that it knew that Sherry never shared a

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   secret with a Chinese government official. In March, 2015, the U.S. government

   stipulated that that it was ‘unaware of any evidence that Appellant ever provided

   secret, classified or proprietary information to a Chinese official or anyone outside

   (emphasis added).”

     150.   After a three-day evidentiary hearing for her MSPB case in Cincinnati in March

   2017, Chief Administrative Judge Michele Szary Schroeder issued a 135-page ruling on

   April 23, 2018, ordering Ms. Chen’s reinstatement. A copy of the MSPB decision can be

   found online, including through this link: https://fas.org/sgp/news/2018/04/mspb-

   chen.pdf.The Administrative Judge found that the agency did not turn over exculpatory

   documents until her counsel discovered their existence by chance.

     151.   Agreeing with Ms. Chen that she had been the “victim of a gross injustice,” Judge

   Schroeder was highly critical of the Department of Commerce for its handling of the

   investigation leading to her arrest and subsequent termination of employment.

   Commenting on Defendant Lieberman’s conclusion that Ms. Chen accessed the NID

   database “as a result of the request” by Mr. Jiao, the judge wrote, “[I]t is inconceivable

   (and I do not find credible) how . . . Agent Lieberman could reach [this] conclusion.”

     152.   She further asserted that “it is equally inconceivable” why the agents did not

   formally memorialize their 11 pages of interview notes with Ray Davis and attach them to

   the Report, since “[t]he responses from Mr. Davis to Agent Lieberman’s questions were

   directly relevant to the material issues,” including the “work-related reasons why Ms.

   Chen accessed the NID” database.

     153.   The Judge questioned the legitimacy and motives behind the continuing forced

   leave of Sherry Chen:

            It was not my place not is it necessary or me to decide whether Ms. Furgione or

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             Admiral Devany had a blinding desire to save face for the agency in light of the
             press coverage and the length of time that had passed since Ms. Lee first submit-
             ted her concerns to the security office, whether they felt Ms. Chen returning to the
             agency would embarrass or not reflect well on the agency’s initial actions,
             whether their thought process was tainted by the dismissed criminal charges, or
             whether they simply did not have the competence or experience to impartially
             perform their respective roles as proposing and deciding officials in this manner.

     154.    The Judge concluded: “In short, Ms. Furgione and Admiral Devany seemed more

   concerned about being right than doing the right thing. Based on the unyielding nature of

   their testimony, I would not have been surprised if they rejected that 2 + 2 =4.”

     155.    Federal employees win 1.7 percent of the time in non-benefit cases decided by

   MSPB judges, yet Sherry Chen had won, but even this victory against all odds has not

   stopped the United States and Defendants in the malicious persecution of Sherry Chen.

     156.    Despite the Congressional and community protests and calls for corrective

   actions, actions taken by the DOJ, and strongly worded 135-page opinion by the

   Chief Administrative Judge, the agency continued to press to go forward and

   appeal.

     157.    On June 18, 2018, the Commerce agency announced it would file a petition for

   review. The MSPB is a three- person board which hears appeals of lower level

   personnel decision. It has not had a quorum since just before President Trump took

   office. Without a quorum it cannot hear cases. As of January 31, 2019. The office

   reported nearly 2000 cases pending review and another 1600 waiting for board action.

   Based on information and belief, a three-person board would not realistically reach

   Sherry Chen’s case until at least 2021.

     158.    The agency knew of this backload when it appealed the 135 (135) page decision

   in Sherry’s favor. This is public record and the subject of news coverage.

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     159.   The agency knew there was little chance of an overturning of a decision by the

   Chief Administrative Judge. MSPB’s published annual report in the 5-year period

   ending September 30, 2018 shows that the reviewing court affirms between 92-96

   percent of the decision

     160.   Nonetheless, the agency appealed. In the same Notice of Appeal, the agency

   announced Sherry would be placed on “paid administrative leave effective April 23, 2018,

   while the petition for review is in process since we believe your presence in the workplace

   would be unduly disruptive.”

     161.   There was never a disciplinary action or a hint of concern with Sherry Chen’s

   conduct while employed by the NWS. The government had already stipulated in a court

   document that Sherry never shared secret information. Yet the same accusation that led to

   the first administrative leave now arose again without an iota of evidence to support this

   claim again.

     162.   As required by the Court’s ruling vindicating her, the Department of Commerce is

   paying her salary and benefits, but, Sherry Chen, has not been permitted to return to work

   thus denying one of her opportunities to restore her reputation in the scientific community

   and in the community at-large.

     163.   In the words of Judge Schroder, there is no reason why [Sherry] cannot continue

   to be a productive employee and continue to contribute to NWS’s mission.”

     164.   As of June 7, 2019, it will be 1697 days since Sherry Chen was placed on forced

   leave, fired, and then place on leave again, once more, due to the unproved accusation that

   she was “unduly disruptive to the workplace.”

     165.   As of June 7, 2019, it will be 412 days since Sherry Chen was reinstated to her

   employment by an Administrative Judicial Order.

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     166.    As of June 7, 2019, it will be 276 days since the appeal was filed.

     167.    When Sherry Chen was first placed on administrative leave, she was at the height

   of a respected and illustrious career of service to this nation. Now, she is branded

   “disruptive,” never allowed to return to the workplace where her work was so exemplary

   as to merit national and local recognition.

     168.    During these years, as Sherry fought to restore her name, her work, her proper

   place in the world, other scientists have been targeted and there is no other way but here,

   in a Bivens action, to sensibly address the “grotesque injustice” of it all in Judge

   Schroeder’s words. The Sherry Chens of the world can try to defend themselves in the

   courts, in the public era, against fabricated accusations weaver out of the imaginations of

   others who see spies when they are not there. But, there must be a recognition that this

   destruction of innocent lives, the targeting on the basis of race and national origin, is

   fundamentally wrong and unconstitutional. That is why there is a Bivens action properly

   for Sherry Chen.

     169.    Sherry Chen has lost many productive years of her career without a hearing. The

   internationally publicized allegations that Sherry Chen shared national security secrets

   turned out to be unfounded specious allegations, as the government has conceded. The

   government has investigated every aspect of Sherry Chen’s life--writings, work, computer

   bank accounts, employment history and academic records—and, the government has not

   found an iota of evidence that Ms. Chen committed a crime in more than five years of

   desperately trying.

     170.    The “de facto” firing enters its fifth year and shows no sign of ending. Sherry

   Chen has never returned to the workplace she cherished.

     171.    The United States and Defendants under color of law deprived Sherry Chen of her

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   work, her liberty and, her life.

                                      Injuries to Sherry Chen

     172.    As a direct and proximate result of the conduct of Defendants, Sherry Chen has

   suffered substantial damages, including loss of liberty, invasion of privacy, substantial

   emotional distress and harm, including difficulty sleeping, nightmares, difficulty focusing

   on daily tasks, and changed behavior. In addition, Sherry Chen has suffered substantial

   economic damage, including loss of income and loss of future earnings, and costs and

   expenses in defending against false criminal charges.

     173.    In causing the arrest of Sherry Chen, Defendants Lieberman, Benedict, and other

   unnamed Defendants were responsible for unannounced arrest of Sherry Chen at her

   work, in front of her colleagues.

     174.    Sherry Chen, who was innocent of all of the charges against her, believed that she

   was being prosecuted for no legal reason but because of ethnic bias and prejudice directed

   at her and other Chinese-American scientists and academics who may have had contacts

   with colleagues in China.

     175.    Sherry Chen and members of her family feared that criminal prosecution

   would result in her wrongful conviction and the destruction of all that Sherry Chen

   had built and established in her personal and professional life.

     176.    The malicious prosecution of Sherry Chen was widely reported in national and

   international media and Sherry Chen was portrayed as an economic spy for China. Sherry

   Chen hid her in home in order to avoid news cameras that were attempting to film her.

   This publicity and the portrayal of Sherry Chen as a spy compounded her emotional

   distress and further damaged her reputation.

     177.    As a result of the Defendants’ actions, Sherry Chen has suffered from severe

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   emotional trauma and distress.

     COUNT I (Bivens)- Malicious Prosecution –Defendants Liebermann, Benedict

     178.   Plaintiff incorporates the allegations set forth above as if fully restated herein.

     179.   The actions of Defendants Benedict violated Sherry Chen’s clearly established

   right to be free from malicious prosecution under the Fourth and Fifth Amendments of

   the United States constitution.

     180.   The actions of Defendant Lieberman violated Sherry Chen’s clearly established

   right to be free from malicious prosecution under the Fourth and Fifth Amendments of

   the United States constitution.

     181.   As the lead case agents for the Department of Commerce, Office of

   Investigations, Defendants Lieberman and Benedict drafted a Report that contained false

   and misleading statements and omitted information that would have established that there

   was no basis on which to refer the matter to the Department of Justice for criminal

   investigation and to prosecute Sherry Chen for crimes that she did not commit.

     182.   Sherry Chen suffered and continues to suffer from the deprivation of liberty as a

   result to the prosecution including but not limited to loss of work, livelihood and

   reputation. The charges against Sherry Chen were dismissed prior to trial, and became final

   on or about June 10, 2018, when the statute of limitations ran on the last remaining count in

   the Superseding Indictment. Accordingly, on that date the charges the United States

   abandoned the malicious prosecution of Sherry Chen and the matter was terminated

   favorably to Ms. Chen.

COUNT II (Bivens) Equal Protection and Due Process– Defendants Lieberman, Benedict,
                           D. Lee, Desrosiers and Does

     183.   Plaintiff incorporates the allegations set forth above as if fully restated herein.

     184.   Defendants Lieberman, Benedict, and Does violated Sherry Chen’s clearly
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   established equal protection and due process rights under the Fifth Amendment.

     185.   Defendants, Lieberman and Benedict, investigation and prosecution of Sherry

   Chen were based on impermissible racial and ethnic factors, and specifically on Sherry

   Chen’s ethnicity, her former status as a Chinese national, and the facts that she had

   traveled to China and met with a Chinese official.

     186.   Defendant Deborah Lee’s accusations against a “Chinese national,” and false and

   misleading testimony before the grand jury that led to the malicious prosecution of Sherry

   Chen was based on impermissible racial and ethnic factors, violating the Equal Protection

   Clause of the Fifth Amendment

     187.   Defendant Renee Desrosiers, who under the color of law, and in complete

   disregard of the Administrative Judge’s Order, was listed as the contact person for the

   notice of Sherry’s administrative leave on May 29, 2018. The notice, without an iota of

   evidence, stating that Sherry’s “presence in the workplace would be unduly disruptive,”

   an allegation that was patently false and went against legal and factual findings in the

   opinion of the administrative court opinion.

     188.   Defendant Does, who under the color of the law, who actively took part in the

   prosecution of Ms. Chen on impermissible racial and ethnic factors and refused to permit

   Sherry Chen to return to work, separating her from her peers and leaving her to be

   ostracized and isolated, violated the Due Process and Equal Protection clauses of the

   Constitution.

COUNT III (BIVENS) Equal Protection and Due Process under the Fifth Amendment-
                    Defendants Lieberman and Benedict

     189.   Plaintiff incorporates the allegations set forth above as if fully restated herein.

     190.   Defendants Lieberman and Benedict did violate Ms. Chen’s equal protection and

   due process rights under the Fifth Amendment of the United States constitution by
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     manufacturing and intentionally misrepresenting evidence and by failing to disclose

     exculpatory evidence in their drafting and presentation of the inaccurate and false ROI, and

     upon information and belief, in other communications with Does, and with federal

     prosecutors.

       191.       The actions of Defendants Lieberman and Lee in fabricating evidence directly

     caused the opening of the criminal investigation against Ms. Chen and directly led to the

     grand jury to vote to indict Ms. Chen.

       192.       The Defendants Lieberman and Benedict in a objectively unreasonable fashion (2)

     stated a deliberate falsehood or showed reckless disregard of the truth and (2) that the

     allegedly false or omitted information was material in the finding of probable cause.

COUNT IV (FTCA) MALICIOUS PROSECUTION

       193.       Plaintiff incorporates the allegations set forth above as if fully reinstated herein.

       194.       The United States maliciously did hereby institute criminal proceedings against

     Plaintiff.

       195.       The malicious prosecution action against Ms. Chen was initiated without probable

                  cause.

       196.       On or about June 10, 2018, when the statute of limitations ran on the last

      remaining criminal count, the United States abandoned the prosecution and it was

      resolved in Ms. Chen’s favor.

COUNT V (FTCA)—ABUSE OF PROCESS

       197.       Plaintiff incorporates the allegations set forth above as if fully reinstated herein.

       198.       In the alternative, Plaintiff alleges abuse of process under the FTCA and Ohio

     law.

       199.       The United States did set in motion the criminal proceeding against Ms. Chen.

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         200.    The proceeding was diverted to accomplish an ulterior motive for which it was

not designed, to wit, to seek and obtain the conviction of prosecuting Ms. Chen, on the basis of

her nationality and ethnicity.

         201.     As a result of this abuse of process, the United States directly damaged Ms.

Chen




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                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff Sherry Chen respectfully requests:

    A.      Compensatory damages, as to Defendants Lieberman, Benedict,, D. Lee, Desrosiers,
            and the United States;

    B.      Punitive damages to Lieberman, D. Lee and “Does” to be an amount determined at
            trial.

    C.      Damages for her lost pay and benefits resulting throughout this period including her
            unpaid suspension following her arrest from November 24, 2014 through March 12,
            2015.

    D.      An injunction ordering the United States to permit Sherry Chen to return to work.

    E.      A declaration that Defendants violated the Fourth and Fifth Amendment rights of
            Sherry Chen by depriving her of equal protection under the law, by subjecting her to a
            malicious
            prosecution, abuse of process, and by subjecting her to unlawful searches and sei-
            zures;

    F.      A public statement by the United States that there never was probable cause to indict
            Ms. Chen and her indictment was based on false and misleading representations, and
            omission of exculpatory evidence.

    G.      An agreement between the United States and Ms. Chen, whereby the parties seek to
            develop anti-bias training and safeguards to prevent other Chinese-Americans and
            other citizens of the United States from being maliciously prosecuted based on their
            race and ethnicity.

    H.      Reasonable attorneys’ fees and costs as to all Defendants;

    I.      Such other and further relief as this Court may deem just and appropriate.

Plaintiff requests a jury trial on all claims triable to a jury.




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                                                              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on                   , a copy of the foregoing pleading was filed

electronically. Notice of this filing will be sent to all parties for whom counsel has entered an ap-

pearance by operation of the Court’s electronic filing system. Parties may access this filing

through the Court’s system. I further certify that a copy of the foregoing pleading and the Notice

of Electronic Filing has been served by ordinary U.S. mail upon all parties for whom counsel has

not yet entered an appearance electronically.


                                                                      s/ Michele L. Young
                                                                      Attorney for Plaintiff




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